     Case: 1:16-cv-11600 Document #: 5 Filed: 12/27/16 Page 1 of 1 PageID #:11



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

BMO HARRIS BANK N.A.,                              )
                                                   )
                                                   )
                                     Plaintiff,    )
                                                   )         No. 16-cv-11600
                       V.                          )
                                                   )
 STEVEN M. MARIANO, individually and as Trustee of )
the Steven M. Mariano Revocable Trust dated        )
January 25, 2008,                                  )
                                                   )
                                                   )
                                   Defendant.      )

  Plaintiff’s Local Rule 3.2 and Federal Rule of Civil Procedure 7.1 Disclosure Statement

       Pursuant to Federal Rule of Civil Procedure 7.1, and Local Rule 3.2, Plaintiff BMO

HARRIS BANK N.A., respectfully states as follows:

       1.     BMO Harris Bank N.A. is wholly-owned by BMO Financial Corp., a Delaware
holding company that is not publicly traded. BMO Financial Corp. is wholly-owned by the Bank
of Montreal, Toronto, Canada.
       2.     Bank of Montreal indirectly owns 10% or more of Harris N.A. now known as
BMO Harris Bank N.A.

Dated: December 27, 2016


                                                    BMO HARRIS BANK N.A.,


                                                    By: : /s/ Mia D. D’Andrea
                                                          One of Its Attorneys

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